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                               IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF OREGON


BRANDON AUSTIN,

                  Plaintiff,

v.

UNIVERSITY OF OREGON; SANDY                                  Case No. 6:15-cv-02257-MC (Lead Case)
WEINTRAUB; CHICORA MARTIN;                                   Case No. 6:16-cv-00647-MC (Member Case)
ROBIN HOLMES; and MICHAEL R.
GOTTFREDSON, all in their individual
capacities only,                                             OPINION AND ORDER

            Defendants.
________________________________
DOMINIC ARTIS and DAMYEAN
DOTSON,

                  Plaintiffs,

v.

UNIVERSITY OF OREGON; SANDY
WEINTRAUB; CHICORA MARTIN;
ROBIN HOLMES; and MICHAEL R.
GOTTFREDSON,

            Defendants.
________________________________

MCSHANE, Judge:

       The initial complaints filed by the Plaintiffs in this case were dismissed by the court on

Defendant’s motion. 1 The court gave Plaintiff’s leave to file an amended complaint and Plaintiffs


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           Unless stated otherwise, citations to the docket refer to the lead case, D. Or. 6:15-cv-2257-MC.


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have done so in an effort to cure the earlier deficiencies (D. Or. 15-cv-2257, ECF No. 35 & D.

Or. 16-cv-647, ECF No. 39). Defendants now move to dismiss Plaintiffs’ Third Amended

Complaints (ECF No. 41). Because the Third Amended Complaints do not contain sufficient

facts to state claims for relief that are plausible on their face, the Complaints are dismissed with

prejudice.

                                          BACKGROUND

        On September 8, 2016, the court dismissed this action on Defendants’ Rule 12(b)(6)

Motion to Dismiss. Opinion & Order, ECF No. 34. The dismissed claims alleged that (1) the

individually named Defendants violated Plaintiffs due process rights under the 14th Amendment

and are liable under 42 U.S.C. § 1983; (2) the University of Oregon violated Title IX of the

Education Amendments of 1972, 20 U.S.C., et seq. (Title IX) by discriminating against Plaintiffs

on the basis of their gender; (3) the Defendants committed various state law torts against

Plaintiffs; including negligence, intentional infliction of emotional distress, and intentional

interference with economic relations; and (4) breach of contract.

Court’s Prior Opinion & Order

        In its prior opinion, the Court found that the individual Defendants were entitled to

qualified immunity with regard to the constitutional claims because the Plaintiffs failed to allege

that a “clearly established” right that had been violated. Opinion & Order 7-10, ECF No. 34.

Specifically, the Plaintiffs did not establish that their interest in education and athletic

scholarships were clearly established property rights protected by the constitution. Id. at 9. There

is no case law or statutory authority in Oregon to establish college education as a constitutionally

protected property right for purposes of a qualified immunity analysis. Id. at 9-10.




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       With regards to the Title IX and Equal Protection Claims, the court found that the

Plaintiffs failed to plead factual allegations supporting any plausible theory under each of the

three types of Title IX sex discrimination cases: “selective enforcement,” “erroneous outcome,”

and “deliberate indifference.” Id. at 11.

       Under a theory of “selective enforcement,” the court found that Plaintiff was unable to

allege that female students facing similar circumstances to male students were treated more

favorably by the University.

       It is important to properly characterize the circumstances that the male Plaintiffs were

facing in the disciplinary hearing conducted by the University. The term “sexual assault” has

been loosely used to characterize the allegations made against the Plaintiffs by a female student.

True, a female did allege that the Plaintiffs raped her. This allegation was rejected by the local

prosecution and it was not the basis on which the University disciplined the Plaintiffs. Rather,

the University alleged only that the Plaintiffs violated the student conduct code by “engaging in

penetration without explicit consent.”

       Plaintiffs failed to allege that the University treated female students in similar

circumstances more favorably. The fact that a particular rule has greater impact on one gender

than the other does not attest to a pattern of gender bias.

       Plaintiff’s second Title IX theory was that Defendants’ allegedly flawed proceeding led

to an erroneous outcome. Plaintiffs asserted that Defendants were presumed guilty because

public pressure resulted in a biased investigation and hearing that deprived Plaintiffs of their

educational opportunities based on their gender. Pl. Artis’ Compl., ¶ 58-62, ECF No. 1-1.

Plaintiffs argued that this court should have adopted the Second Circuit’s McDonnell-Douglas

burden-shifting framework, requiring only a minimal plausible inference of discrimination to




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survive a motion to dismiss. Doe v. Columbia Univ., Civ. No. 15-cv-1536, 2016 WL 4056034,

*7 (2d. Cir. July 29, 2016). I declined. Opinion & Order 17, ECF No. 34. I found that even if

there was an atmosphere of public scrutiny, there was no plausible inference that a university’s

aggressive response to allegations of sexual misconduct is evidence of gender discrimination. Id.

       Plaintiffs’ claims regarding “deliberate indifference” were dismissed for similar reasons

as the “selective enforcement” claim. The standard of proof required for a university

investigation and suspension based on its code of conduct is entirely different from the District

Attorney’s standard to prosecute a criminal case. Id. at 18.

       With regards to the negligence claims, this Court found that because there was no

“special relationship” between Plaintiffs and Defendants, Plaintiffs did not have a cognizable

claim under Oregon law to seek economic damages purely in the form of lost future income. Id.

21-23 (“There exists no precedent in Oregon or the Ninth Circuit recognizing a special

relationship between college students or student athletes and the universities they attend.”).

       With respect to the breach of contract claim, this Court found that there was no

contractual basis to support an expectation of renewal of Plaintiffs’ annually renewable

scholarships. Id. at 27-28.

Plaintiffs’ Third Amended Complaints

       In dismissing the complaint, Plaintiffs were given leave to file amended complaints

curing the deficiencies of their claims. The amended complaints allege four claims: (1) violation

of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq, against the

University; (2) violation of the 14th Amendment’s guaranty of equal protection against all

individual defendants; (3) negligence against all defendants; and (4) breach of contract against

the University. TAC 22, 30, 31, & 33, ECF No. 41.




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       The amended complaints re-allege the original facts as well as new factual allegations to

be taken as true for purposes of a motion to dismiss. The new factual allegations include four

declarations incorporated by the complaint. Plaintiffs also incorporated a statement from the

Lane County District Attorney’s office published by The Oregonian and a statement of a

University student (the “complainant”) published by the Daily Emerald. On a motion to dismiss

the Court may consider, in addition to the complaint, materials incorporated into the complaint or

matters of public record. Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir. 2010). The

Court summarizes the submitted declarations as follows.

Declaration of Greg Veralrud 2

       Mr. Veralrud recalls his review of the University’s Title IX investigation report regarding

the allegations that led to the disciplinary proceeding underlying this case. The report stemmed

from the claim of non-consensual sexual contact made against his then client, Dominic Artis, as

well as the claims made against Damyean Dotson and Brandon Austin. Mr. Veralrud was Mr.

Artis attorney through the administrative hearing.

       Mr. Veralrud “do[es] not contend that [his] current recollection of the contents of the

report is complete or totally accurate.” There was some overlap between the Title IX

investigation, the Eugene Police Department investigation, and the investigation conducted on

behalf of the male students by their respective counsels. Mr. Veralrud “acknowledge[s] that

attribution of a particular fact to the Title IX report could be in error.” Nonetheless, he recalls the

evidence supporting the claim of non-consensual contact was based solely upon the statement of

the complaining female student involved in the encounter with the male students. He also recalls

the report referencing interviews with other student witnesses who provided statements

indicating the accuser was not intoxicated and willingly left in the taxi with the three male
       2
           TAC Ex. 1, ECF No. 39.


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students. He recalls a reference to text message conservations between the complainant and the

Plaintiffs with no reference to unwanted sexual contact.

       Mr. Veralrud nonetheless had concerns that the University would be under “significant

pressure” to make its own student conduct findings. He was also concerned about the

University’s lack of interest in exercising subpoena power in conjunction with the panel hearing

to bring forth witnesses who may contradict the complainant and corroborate Artis.

Declaration of Laura Fine Moro

       Ms. Moro is an attorney who represented Brandon Austin at all times during the

University’s action against him. TAC Ex. 2, ECF No. 39. Ms. Moro was allowed to read a

redacted copy of the Title IX report of the incident, but was not allowed to keep a copy. She

describes reading a report in which the complainant’s sexual assault claims were contradicted by

witnesses and by the complainant’s own statements regarding the her level of intoxication and

her willingness to engage with the Plaintiffs.. Decl. Moro ¶ 11-12, ECF No. 39.

       Ms. Moro has also represented hundreds of University of Oregon students under various

circumstances, including alleged violations of University Student Conduct Code. She is not

aware of a case in which an allegation of sexual misconduct made by a female against a male has

been unfounded by the University. “[T]he female accuser is always believed and the male

accused is never believed.”

       Ms. Moro recalls that every client she has represented in a “sexual misconduct”

allegation at the University was male with one exception. Her one female client was alleged to

have had a verbal fight with her boyfriend in her apartment; refused to let him leave; exerted

physical force that resulted in scratches and skin abrasions; and, when the male finally left the

apartment, her client grabbed a large kitchen knife and ran after him. Police became involved




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and her client ultimately pled guilty to Reckless Endangerment (Class A Misdemeanor) and

Harassment (Class B Misdemeanor). She was placed on probation, given a jail sentence, and

ordered to complete a mental health evaluation and follow through with any required treatment.

The University underwent a Title IX investigation and was informed about the outcome of her

criminal case. Ms. Moro is unaware of any further action taken by the University beyond the

investigation.

       Despite Ms. Moro characterizing this event as an allegation of “sexual misconduct,” it is

clear from her declaration that this event is quite different from the allegations at bar and is better

characterized as a domestic violence event or a physical assault. This example has nothing to do

with an allegation of failing to obtain explicit consent prior to penetration.

Declaration of Lissa Casey

       Lissa Casey is an attorney who has represented students that are charged with sexual

misconduct offenses by the University of Oregon and is familiar with University’s disciplinary

process. TAC Ex. 3, ECF No. 39. All of her clients who have been accused of sexual misconduct

have been male and in her experience the University has always found the female students’

accusations of sexual misconduct credible. Ms. Casey expresses a professional opinion that there

is a sex/gender bias within the University’s disciplinary system.

Declaration of Brian Michaels

       Brian Michaels is local counsel to Plaintiffs in these consolidated cases. He declares to

have represented another individual in a restraining order case filed through the University of

Oregon. TAC Ex. 4, ECF No. 39. Depositions were taken of three University of Oregon

employees in that case under a Protective Order. Mr. Michaels declares that two of these

depositions are “extremely relevant and helpful to establishing Plaintiff’s claims,” but is




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prohibited from revealing any further information about those depositions because of the

protective order.

Additional background

       At some point during their criminal investigation, the Lane County District Attorney’s

office determined that charges would not be pressed against the Plaintiffs. After the District

Attorney’s decision, The Oregonian newspaper published the police report made by the female

student who had accused the Plaintiffs of rape. TAC ¶ 34-35, ECF No. 39. The next evening, in

response to the The Oregonian publication, the District Attorney’s office issued a lengthy

document outlining its conclusions and reasons for its decision not to press charges against

Plaintiffs. Id. ¶ 36-37. In response to these statements and the newspaper article, widespread

protests occurred on the University’s campus. Id. ¶ 40. The protests were aimed at pressuring the

University to take action against the Plaintiffs. Id. Protesters held signs condemning the “rape

culture” on campus. Id. ¶ 41, 43. The protest received local and national press coverage casting

the University in a negative light. Id. ¶ 42.

       Additionally, there is a 2013 published study by University of Oregon psychology

professor Jennifer J. Freyd, Ph.D. TAC ¶ 45, ECF No. 39. The study found that women can

experience “institutional betrayal” when an institution fails to prevent sexual assault or respond

supportively. Dr. Freyd repeatedly spoke out against the University’s handling of the situation

involving the Plaintiffs. Id. ¶ 46. She either led and/or publicly supported a protest on May 8,

2014. The next day, President Gottfredson condemned Plaintiffs’ actions at a press conference.

Id. ¶ 47. In his press conference, President Gottfredson called the female accuser a “survivor”

and also asserted that “as a father, [he] was appalled.” Id. ¶s 48-49. President Gottfredson was

not involved in the disciplinary process at issue in this case.




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                                             STANDARD

        To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient

factual matter that “state[s] a claim to relief that is plausible on its face.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). A claim is plausible on its face when the factual allegations

allow the court to infer the defendant’s liability based on the alleged conduct. Ashcroft v. Iqbal,

556 U.S. 662, 663 (2009). The factual allegations must present more than “the mere possibility

of misconduct.” Id. at 678.

        While considering a motion to dismiss, the Court must accept all allegations of material

fact as true and construe them in the light most favorable to the non-movant. Burgert v. Lokelani

Bernice Pauahi Bishop Trust, 200 F.3d 661, 663 (9th Cir. 2000). However, the Court is “not

bound to accept as true a legal conclusion couched as a factual allegation.” Papasan v. Allain,

478 U.S. 265, 286 (1986). If the complaint is dismissed, leave to amend should be granted unless

the court “determines that the pleading could not possibly be cured by the allegation of other

facts.” Doe v. United States, 58 F.3d 494, 497 (9th Cir. 1995) (citations and internal quotation

marks omitted).

                                            DISCUSSION

        The factual allegations in Plaintiffs’ amended complaints are essentially similar to the

factual allegations in their prior complaint the court previously dismissed. ECF No. 34. The facts

added to the new complaints seek to develop a theory of gender discrimination on the basis that

(1) the University was under public pressure to take action against the accused male students,

and (2) accusers who are female students are treated different than accused students who are

male.




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       I find that these new factual allegations fail to cure the deficiencies identified in my prior

Opinion & Order. For brevity, I incorporate by reference the full analysis in my prior Opinion

(ECF No. 34).

       Plaintiffs were suspended by the University because they failed to obtain explicit consent

before engaging in sexual penetration. This is a violation of the University’s Student Conduct

Code. A state’s criminal code and the decision by the District Attorney’s office regarding

criminal prosecution have little relevance to the University’s student conduct code and its

enforcement. While the state criminal code criminalizes non-consensual sexual acts between

adults, the University’s code prohibits some forms of non-criminal sexual contact; specifically,

sexual penetration that is not preceded by explicit consent. In other words, the University expects

its students to communicate prior to engaging in certain forms of sex in order to assure each

other that both participants intend to engage in act and they consent to it. This expectation may

be viewed as unnecessary, archaic, or unfair, but in fact many universities have stricter student

conduct codes than the one at issue. For example, some universities prohibit students from living

with someone of a different gender or sex, outside the exception of marriage, and others prohibit

their students from all sexual contact outside a marital relationship.

       Plaintiffs spend much of their focus on the criminal investigation that preceded the

disciplinary hearing. They are correct in asserting that the record is replete with evidence

contradicting the complainant’s accusation of a crime; namely, the crime of rape. It is clear that

the complainant’s actions and statements severely damaged her credibility and foreclosed

criminal prosecution. But the focus of the disciplinary hearing was not the credibility of the

criminal accusation, rather it was whether the three Plaintiffs had made any effort to gain explicit

consent from the complainant before the three of them decided to engage in penetration during a




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group sex encounter in a bathroom. On this issue, it does not appear from the record that a

credibility finding was necessary. This was not a “he said/ she said” mystery that required a

female to be believed over a male. The complaint and record incorporated into this motion

(including the statements of the Plaintiffs to police that describe in detail what occurred)

indicates one conclusion; nobody involved in the sexual encounter, male or female, gave or

received explicit consent. Assuming consent is not the same as explicitly receiving it.

       I find that Plaintiffs’ allegations fail to plausibly allege facts that support the notion the

Defendants acted in a discriminatory manner or with the requisite intent to discriminate on the

basis of sex or gender. The four declarations incorporated into the amended complaint do not add

facts sufficient to change my analysis in my original Opinion & Order. The declarations express

the viewpoints from four attorneys that the “female accuser is always believed and the male

accused is never believed.” This observation has little relevance. Factually, this is not a case

where a woman was believed over a man. And for purpose of a Title IX discrimination claim, an

accuser is not in a similar circumstance as an accused.

       The amended complaint fails to provide any circumstance where a female student was

accused of sexual misconduct by failing to obtain explicit consent and was treated differently or

more favorably by the University. With one exception, the four attorneys have only represented

male students who were accused of sexual misconduct. In the one incident referenced in the

declarations that involved a female student accused of misconduct, the allegations involved

physical assault and not sexual misconduct. This case is not comparable to the Plaintiff’s

situation. The woman in that case was criminally prosecuted, jailed, and placed on probation.

The Plaintiffs here were not criminally prosecuted. They are accused of a non-criminal violation

of the student code that required them to ask for explicit consent from a sexual partner.




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        Violations of the student conduct code do not give rise to sex or gender discrimination

simply because males are far more likely to be accused of sexual misconduct than females. Many

rules and statutes have a disproportionate effect on one gender. This unremarkable observation

alone does not rise to the plausible level of prohibited discriminatory intent. Because Plaintiffs’

amended complaints do not cure the deficiencies previously identified, the amended complaints

are dismissed with prejudice.

Qualified Immunity

        While the amended complaints re-package the Plaintiffs’ 14th Amendment claim from

one of due process to one of equal protection, this does not cure the fact that Plaintiffs still fail to

identify a clearly established constitutional right that has been violated by the University. As

previously found, the individual Defendants are entitled to qualified immunity because Plaintiffs

did not present a “clearly established” right that had been violated. Opinion & Order 7-10, ECF

No. 34. Because no federal or state law establishes that a college education is a constitutionally

protected property right in Oregon for purposes of qualified immunity analysis, the Plaintiffs

cannot assert such a violation. Id. at 9-10. Plaintiffs reference cases that suggest the courts may

make a determination that there exists a constitutionally protected right to higher education in

certain contexts, but qualified immunity does not require individual government actors to predict

how future courts might decide the issue. The existence of the right must be beyond debate.

Negligence and Breach of Contract

        For the same reasons outlined in my prior Opinion & Order, Plaintiffs failed to

sufficiently plead cognizable damage necessary for a negligence claim. Because no special

relationship exists between the parties, Plaintiff’s negligence claims are dismissed. The cases

cited by Plaintiffs’ are unpersuasive. The Student Conduct Code applies equally to all university




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students irrespective of whether they are student athletes or not, or whether they are receiving a

student scholarship or not. Students are not allowed to engage in sexual conduct without explicit

consent. Plaintiffs may complain that the University provided them with a “kangaroo court”

hearing (TAC ¶ 150), but the administrative process they received came from an agreement

between the parties and, during that time, Plaintiffs were well-represented by their attorneys.

       For the same reasons outlined in my prior Opinion & Order, the claim for breach of

contract is dismissed. Whatever subjective expectations Plaintiffs may have had, the scholarships

were renewable on an annual basis, but not mandated to be renewed. There is no contractual

language that guaranteed renewal of their scholarship, especially in light of a violation of the

University’s Student Conduct Code.

                                         CONCLUSION

       Because the Amended Complaints do not contain sufficient factual matter to state a claim

or claims to relief that are plausible on their face, the Complaints are dismissed. Because I find

that further attempts to amend would be futile, the dismissal is with prejudice. Defendants’

Motions to Dismiss (Austin v. Uni. of Oregon, D. Or. 16-cv-2257-MC, ECF No. 41 and Artis v.

Uni. of Oregon, D. Or. 16-cv-647-MC, ECF No. 51) are GRANTED.



IT IS SO ORDERED.



DATED this 7th day of June, 2017


                                              s/ Michael J. McShane
                                              Michael McShane
                                         United States District Judge




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